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                            UNITED STATES DISTRICT COURT                          MAR 2 5 2005
                            EASTERN DISTRICT OF KENTUCKY                             P i LEXINGTON
                                     LEXINGTON                                     LESLIE G WHtTMER
                                                                               CLERK LJ S nilS7QiCT COURT

CIVIL ACTION NO. 03-494-KSF
REPUBLIC SERVICES, INC.:                                                              PLAINTIFF


V.                       MEMORANDUM OPINION AND ORDER

LIBERTY MUTUAL
 INSURANCE COMPANIES, ET AL.,                                                    DEFENDANTS
                                        **********
                                     I. INTRODUCTION
        For the period of time at issue herein, defendants handled, managed, and adjusted workers’
compensation claims filed by employees of plaintiff or its subsidiaries. On November 10,2003,
plaintiff filed this action in Jessamine Circuit Court against defendants Liberty Mutual Insurance
Company, Liberty Insurance Acquisition Corporation W a Liberty Mutual Fire Insurance Company,
Liberty Insurance Corporation, LM Insurance Corporation, The First Liberty Insurance Corporation,
and Helmsman Management Services, Inc. (hereafter collectively referred to as the “Liberty
Companies”), alleging breach of contract and breach of fiduciary duty concerning a contractual
relationship (the “Workers’ Compensation Program”) that began in July 1998.’ Plaintiff also seeks
injunctive relief.
        Plaintiff Republic Services, Inc. (hereafter “Republic”) is a holding company for numerous
subsidiary corporations, limited liability companies, and limited partnerships (hereafter “the
Republic Companies”) ,including Republic Services of Kentucky, LLC, a Kentucky limited liability
company which operates and does business in Jessamine County, Kentucky. The Republic
Companies are residential and commercial waste haulers and owners and operators of landfill and
waste disposal facilities; they service customers in Kentucky and in approximately twenty-one (21)




         On November 12,2003, defendants removed this action from Jessamine Circuit Court.
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other states in the United States. The Republic Companies have employees who have filed workers’
compensation claims against them.
        On or about July 1, 1998, Republic and the Republic Companies entered into a one-year
contract with the Liberty Companies which Republic identifies as “the Workers Compensation
Program,” wherein the Liberty Companies agreed to service the Republic Companies’ workers’
compensation claims for the period from July 1, 1998 to June 30, 1999. The parties subsequently
entered into a one-year contract wherein the Liberty Companies agreed to service the Republic

Companies’ workers’ compensation claims for the period from July 1, 1999 to June 30,2000, and
another one-year contract concerning workers’ compensation claims for the period from July 1,2000
to June 30, 2001. Republic states that during this three-year contractual period, the Liberty
Companies occupied the role of an “excess insurance carrier” and claims administrator, with
Helmsman providing managed care services in conjunction with the Workers’ Compensation
Program.
        Republic states that during the policy terms of July 1998 until June 2001, the Republic
Companies were severally named as defendants in approximately 7,740 workers’ compensation
claims proceedings brought by various employees of the Republic Companies (hereafter the
“Republic Claims”) in Kentucky and other states and that approximately212 of the Republic Claims
files remain open. Additionally, Republic states that it and the Republic Companies remain subject
to additional future liability on the approximately 7,528 closed files, which may be “re-opened” by
reason of certain subsequent events affecting previously-compensated, work-related injuries to
employees of the Republic Companies.
       In Count I of the complaint, Republic asserts that the Liberty Companies have not permitted
it access to the Republic Claims files for purposes of auditing said files and that such act is a breach
of the Liberty Companies’ contractual and common law duties to Republic and the Republic
Companies to allow access to information owned by, and gathered and prepared for, Republic and
the Republic Companies.

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       In Count I1 of the complaint, plaintiff asserts that the Liberty Companies have breached their
fiduciary duties to Republic and to the Republic Companies by refusing to make all files on the
Republic Claims available to Republic for auditing, inspection and review; by failing to properly
evaluate the Republic Claims and to set appropriate file reserves therefor; and by exposing Republic
and the Republic Companies to potential liability for violations of state unfair claims settlement
practices statutes, and for the failure of Republic to make complete and accurate disclosures of the
workers’ compensation liabilities of Republic and the Republic Companies pursuant to the federal
securities laws, including the Sarbanes-Oxley Act.
       In Count I11 of the complaint, plaintiff seeks injunctive relief.
                                11. THE DISCOVERY DISPUTE
       With the filing of its complaint, plaintiff also served written discovery requests seeking
production of certain claims files for the Workers’ Compensation Program which the Liberty
Companies handled, administered and managed for Republic, along with access to a claims
management database known as RISK TRAC, and certain other pertinent proprietary computer
databases of the Liberty Companies, for purposes of performing a claims file audit and obtaining
information to support Republic’s asserted causes of action in this litigation. Plaintiff also moved
for a restraining order to facilitate production of the claims files by defendants. On November 14,
2003, the court heard plaintiffs’ motion for arestraining order, resulting in an Agreed Order that was
entered herein on December 10, 2003, which provided that by January 5 , 2004, the Liberty
Companies would commence production ofthe 739 claims files at issue (“Claims Files”) and would
respond to certain of plaintiffs discovery requests by January 10,2004.
       The rolling production of the Claims Files began on January 5,2004, and should conclude
in the late spring of 2005. At the time production ofthe Claims Files began, the Liberty Companies
advised Republic that the Claims Files for any claims in California (hereafter “California Claims
Files”) would not be produced because the applicable provisions of state law in California preclude
allowing the insured employer (or its agent or designee) access to an employee’s medical records in

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the context of a workers’ compensation proceeding. For this reason, the Liberty Companies have
withheld production of all of the California Claims Files.
       The present discovery dispute concerns the California Claims Files. This matter is before
the court on plaintiffs motion to compel discovery from defendants.’ Specifically, plaintiff has
requested an Order compelling defendants to produce that portion of the Claims Files (as that term
is defined in the Complaint) for claims in California, ie., the California Claims Files.
       In briefing this matter, the parties have taken diametrically opposed positions: the Liberty
Companies assert that because the applicable provisions of state law in California preclude allowing
the insured employer (or its agent or designee) access to an employee’s medical records in the
context of a workers’ compensation proceeding, they are unable to produce the California Claims
Files to Republic, since such production would be a violation of California law. Republic, on the
other hand, acknowledgesthe California statutes on which the Liberty Companies rely for their belief
that they are unable to produce the California Claims Files, but Republic takes the position that the
statutory scheme in California also contains specific exceptions applicable to this case that would
permit the production ofthe California Claims Files, including an employee’s medical records in the
context of a workers’ compensation proceeding.
                                         Applicable Law
       California Labor Code,   5 3762, which became effective on January 1, 2003, provides, in
pertinent part, as follows:
       8 3762.   Factors affecting employer’s premium; disclosures by insurer
       (a) Except as provided in subdivisions (b) and (c), the insurer shall discuss all
       elements of the claim file that affect the employer’s premium with the employer, and
       shall supply copies of the documents that affect the premium at the employer’s
       expense during reasonable business hours.
       ...


           Pursuant to numerical paragraph 13 of the district court’s Scheduling Order entered
herein on March 11,2005, all discovery disputes were referred to the Magistrate Judge for
resolution. [DE #22].
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       (c) An insurer, third-party administratorretained by a self-insured employer pursuant
       to Section 3702.1 to administer the employer’s workers’ compensation claims, and
       those employees and agents specified by a self-insured employer to administer the
       workers’ compensation claims, are prohibited from disclosing or causing to be
       disclosed to an employer, any medical information, as defined in subdivision (b) of
       Section 56.05 of the Civil Code, about an employee who has filed a workers’
       compensation claim, except as follows:
       (1) Medical information limited to the diagnosis of the mental or physical condition
       for which workers’ compensation is claimed and the treatment provided for this
       condition.
       (2) Medical information regarding the injury for which workers’ compensation is
       claimed that is necessary for the employer to have in order for the employer to
       modify the employee’s work duties.
Cal. Labor Code § 3762.
       Due to the fact that the foregoing statute did not become effective until January 1,2003,
California case law concerning this particular statute has yet to be developed. Thus, this case
appears to be a case of first impression. The lack of case law from California notwithstanding, upon
review of (1) the parties’ memoranda filed in support of and in opposition to Republic’s motion to
compel the production of the California Claims Files, and (2) the California statutory scheme
concerning this matter, the Magistrate Judge is not persuaded by the Liberty Companies’ argument
that disclosure of the medical information in the California Claims Files to Republic would be a
violation of California state law. This conclusion is based on a literal reading of subdivision (c) of
8 3762 of the California Labor Code, which authorizes an insurer or a third-party administrator of
workers’ compensation claims to disclose an injured workers’ medical information at issue in two
instances:
       (1) Medical information limited to the diagnosis of the mental or physical condition
       for which workers’ compensation is claimed and the treatment provided for this
       condition.
       (2) Medical information regarding the injury for which workers’ compensation is
       claimed that is necessary for the employer to have in order for the employer to
       modify the employee’s work duties.
Cal. Labor Code 5 3762(c).



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       It is clear that the foregoing statute authorizes only the disclosure of medical information

limited to the diagnosis of the mental or physical condition for which workers’ compensation is
claimed and the treatment provided for this condition. Thus, a worker’s lifetime medical history
information is not subject to release; only that medical information concerning the workers’
compensation claim may be disclosed.
        The Magistrate Judge is unpersuaded by the Liberty Companies’ argument that it does not
have the medical expertise to discern what medical information only relates to the diagnosis and
treatment of the work-related injury.3 Additionally, since it appears that there are only 92 files in the
California Claims Files, upon review of the affidavit of Carl Fedde, a Certified Public Accountant
retained by plaintiff as a file auditor in this case: the Magistrate Judge concludes that redaction of
these 92 files would not be unduly burdensome to the Liberty Companies and thus would not warrant
the shifting of the costs of redaction to Republic.




         For example, medical information predating the date of the work-related injury would
not be subject to disclosure.
         Mr. Fedde’s affidavit states, in relevant part, as follows:
        2. As part of my duties, I have personally reviewed 210 Claims Files (as that term
        is defined in the Complaint) in hard copy, and 280 RISK TRAC files for claims
        under the Workers’ Compensation Program.
        3. In my review of these files, the medical records I have seen are generally
        physician progress notes in the hard copy files. There are no medical records
        electronically imaged in the RISK TRAC files, although I have observed
        summaries by claims adjusters of physician notes and correspondence which have
        been typed into RICK TRAC.
        4. I have not seen any detailed medical histories of conditions unrelated to the
        work injury at issue, but have only seen limited discussions of previous medical
        history where the injured worker has been sent for an independent medical
        examination or a physician’s determination of whether the injured worker has
        reached maximum medical improvement.
Affidavit of Carl Fedde, CPA - Exhibit “C” to DE #21.
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       Accordingly, IT IS HEREBY ORDERED that:
       1. Plaintiffs motion to compel discovery from the defendants [DE #18] is GRANTED.
       2. Within twenty (20) days of the date of this Order, the Liberty Companies are directed to
redact non-disclosable medical information from the California Claims Files and to produce the
California Claims Files, as redacted, to Republic as contemplated by numerical paragraph 1 of the
Agreed Order entered herein on December 10,2003.


       This d    5    q   y of March, 2005.
